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 2                                     KING COUNTY
                                  SUPERIOR COURT CLERK
 3                                        E-FILED
                                  CASE #: 22-2-08640-8 KNT
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               IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 8
                            IN AND FOR THE COUNTY OF KING
 9
10   RICHARD AND PARTNERS, LLC, A
     WASHINGTON LIMITED LIABILITY                 NO.
11   COMPANY
12                                                COMPLAINT
                            PLAINTIFFS,
13                                                (BREACH OF CONTRACT, BREACH
     VS.                                          OF DUTY OF GOOD FAITH AND FAIR
14                                                DEALING, BAD FAITH, BREACH OF
     BERKSHIRE HATHAWAY GUARD                     CONSUMER PROTECTION ACT)
15   INSURANCE COMPANIES,
16
                            DEFENDANT,
17

18
       Comes now Plaintiffs Richard and Partners, LLC                                      its
19

20 attorneys at Chae Law Firm, P.S for their causes of action against Defendant Berkshire
21 Hathaway Guard Insurance Companies                      s collectively , and alleges as

22 follows:

23
24

25
26
     COMPLAINT FOR DAMAGES           Page 1                      CHAE LAW FIRM, P.S.
                                                                 15 S GRADY WAY, STE 410
                                                                    RENTON, WA 98057
                                                                       P: (425) 373-9922
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                                   I. PARTIES AND JURISDICTION
 1

 2       1.1     At all times material hereto, Plaintiff Richard and Partners LLC was a Washington

 3 company licensed to do business in the State of Washington, with its primary place of business

 4 in King County, Washington.
 5       1.2     At all times material hereto, Defendant Berkshire Hathaway Guard Insurance
 6
     Companies was an insurance company licensed to write insurance in the state of Washington
 7
     and actually issued a comprehensive bus                  policy of insurance to plaintiff under
 8
     policy number RIBP297959 for the period of January 31, 2021 to January 31, 2022.
 9
10       1.3     This court has jurisdiction over this dispute pursuant to RCW 2.08.010 as the

11 demand of plaintiffs exceeds three hundred dollars.
12       1.4     Venue is proper in King County pursuant to RCW 4.12.020-025
13
         1.5     Venue is proper in King County as it concerns real property located in Federal Way,
14
     Washington.
15
                                                   II. FACTS
16
         2.1     Plaintiff re-alleges each and every allegation contained in the preceding paragraphs
17

18 as if set forth fully herein.
19       2.2     Plaintiff Richard and Partners LLC is the owner and operator of the Federal Way
20
21
     businessowners policy, #RIBP297959.
22
         2.3     At all times relevant hereto Richard and Partners LLC maintained the policy by
23
     paying its premiums as owed to GUARD.
24

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         2.4
 1

 2 Partners has never been late on a payment.

 3       2.5       On April 6, 2021, a pipe burst at the Inn which resulted in extensive water damage

 4 to the Property. On or about April 6, 2021, Plaintiff filed a claim for the burst pipe and reported
 5 the water damage to the Defendant.
 6
         2.6       Immediately after the April 6, 2021, Plaintiff contacted Rotor Rooter Services
 7
     Company to address the emergency, which included repair of the burst pipe and removing the
 8
     flooding from affected rooms.
 9
10       2.7       Defendant Insurer initially retained Marybeth Verrengio of Raphael and Associates

11 as a third party claims examiner. Upon information and belief, Marybeth Verrengio was to
12 report to Defendant Insurer and approve of repairs made by the Rotor Rooter Services Company

13
         2.8       Although Rotor Rooter Services Company completed its repair work in April of
14
     2021, Defendant insurer did not release payment to RRSC until August 2, 2021. As a result of
15
16
         2.9       Defendant Insurer did not perform sufficient investigation or assessment of damage
17

18
19 or other damages resulting from the burst pipe.

20       2.10      From the months of April through September of 2021, Plaintiff made multiple
21
     attempts to contact the                                                 , regarding the extent of
22
     the damage.
23
         2.11      The only response received by the Plaintiff was that an agent was coming to in
24

25 On Septe                                                                                          .

26
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         2.12    By September of 2021, six months after              claim was first made, Defendant
 1

 2 Insurer retained Patrick Booth of Engle and Martin, to represent it in inspecting damage,

 3 adjusting the loss, and overseeing repairs.

 4       2.13    To date,                                          represented that additional testing
 5 of the property is required to assess damages and has consistently engaged in undue delay of
 6
     the investigation. Defendant Insurer has relied on this representation in order to unduly delay
 7
     the release of insurance payments to Plaintiff.
 8
         2.14    Defendant Insurer has declined to release any amount of funds to mitigate any
 9
10                                   repeated representation that repair was necessary to prevent the

11 water damage from spreading.
12       2.15    As
13
     contractor to provide an assessment of damages and to create an estimate. Bowers, the third
14
     party contractor, estimated that the cost of repair would be in excess of $1.4 million
15
         2.16    Defendant Insurer delayed any amount of payment, claiming that additional
16
     inspection related to asbestos testing was required. Defendant Insurer conducted the initial
17

18 inspection on October 11, 2021. Defendant Insurer requested additional inspection that was
19 conducted and completed two full months later, on December 15, 2021, only to conclude that

20 even more additional testing was required.
21
         2.17    Despite several requests from Plaintiff, Defendant Insurer indicated no interest in
22
     performing an immediate inspection. It was not until March 10, 2022 that follow up inspections
23
     were conducted.
24

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          2.17                                                          of 2022, Defendant Insurer
 1

 2 represented that an undisputed amount had been determined and that Defendant Insurer would

 3 initiate payment for the undisputed amount. Defendant Insurer had not released any funds to

 4 Plaintiff at the time of inspection on March 10, 2022, despite clear evidence that further delay
 5 is leading to the spread of water damage.
 6
          2.18   On March 14, 2022, Defendant Insurer presented the Plaintiff with its estimate of
 7
     the undisputed amount, but conditioned the payment of the undisputed amo
 8
     execution of a POL that contained terms that could clearly be construed as a release.
 9
10        2.19   On April 6, 2022, almost one full year after the date of loss, Defendant insurer

11 approved payment of $129,000.00
12 estimate.

13
                     III. FIRST CAUSE OF ACTION: BREACH OF CONTRACT
14
          3.1    Plaintiff incorporates and realleges paragraphs 1.1-2.16 above as though fully set
15
     forth herein.
16
          3.2    Plaintiff is Defendant
17

18 #RIBP297959.
19        3.3    Pursuant to the terms of the policy, Plaintiff is required to pay monthly premiums
20
21
          3.4    Plaintiff has at all times maintained its coverage and dutifully paid its monthly
22
     premiums to Defendant Insurer.
23
          3.5    Plaintiff has reported a covered loss and Defendant has failed to timely pay Plaintiff
24

25 as required by contract.
26
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          3.6                                         inaction) constitute breach of contract.
 1

 2        3.7

 3 amount to be proven at trial.

 4           IV. SECOND CAUSE OF ACTION: BAD FAITH CLAIMS HANDLING
 5        4.1    Plaintiff incorporates and realleges paragraphs 1.1-3.2 above as though fully set
 6
     forth herein.
 7
          4.2    Washington imposes a duty of good faith on insurers in interactions with
 8
     policyholders. A violation of that duty results in tort liability on part of the insurer, requiring
 9
10 compensation of the loss to the insured

11        4.3    Washington law prohibits insurers from engaging in unfair claims practices. RCW

12

13
     adopt and implement reasonable standards for the processing and payment of claims after the
14

15
     within fifteen business days is the required minimum. WAC 284-34-330
16
          4.4
17

18 claim for sixteen months, when Defendant Insurer knew that delay in repairs would cause
19 further water damage and result in unnecessary loss of business is a breach of the Defendant

20                                           ntiff.
21
          4.5
22
     testing when such testing would not change the scope of what needs to be repaired further
23
24

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          4.6      Defendant
 1

 2 Insurers completely failed to implement reasonable standards to timely pay a covered claim.

 3        4.7

 4 faith.
 5        4.8
 6
     execution of a release constitutes bad faith.
 7
          4.9
 8
     suffered damages in an amount to be proven at trial.
 9
10    V. THIRD CAUSE OF ACTION: VIOLATION OF INSURANCE FAIR CONDUCT
                                    ACT
11
          5.1      Plaintiff incorporates and realleges paragraphs 1.1-4.7 as though fully set forth
12
     herein.
13
14        5.2

15 presently ongoing, is a denial of payment of benefits under RCW 48.30.020
16        5.3                                                              -30-330. As a result, the
17

18
     plus attorney fees and litigation expenses.
19
          5.4
20
     Plaintiff has suffered damages in an amount to be proven at trial.
21

22        5.5      Plaintiff has complied with the notice requirements of RCW 48.30.015(8) prior to

23 filing this action, and more than 21 days have elapsed since Plaintiff provided the required
24 notice.

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 2          VI. FOURTH CAUSE OF ACTION:VIOLATION OF THE CONSUMER
                               PROTECTION ACT
 3
            6.1 Plaintiff incorporates and realleges paragraphs 1.1-5.5 above as though fully set
 4
     forth herein.
 5
 6          6.2. The consumer protection Act, RCW 19.86 et seq., requires insurers to abide by

 7 Washington fair claims handling requirement.

 8          6.3.                                                                                             s
 9 constitute a per se violation of the Consumer Protection Act.
10
            6.4.
11
     claim for over 10 months, despite the covered loss, is an unfair and deceptive practice that has
12
     res
13
14          6.5. The actions of Defendant Insurer occurred in the business of insurance, which

15 impacts the public interest as a matter of law.
16                                                                        f the Consumer Protection Act,
17
     Plaintiff has suffered damages in an amount to be proven at trial.
18
                                       VII. PRAYER FOR RELIEF
19
            Wherefore, Plaintiffs prays for judgment as follows:
20
              A. That Plaintiffs be granted judgment against Defendant in an amount to be proven at trial;
21
              B. For judgment awarding Plaintiffs their fees and costs to the extent allowed by law or equity.
22

23            C. For judgment awarding Plaintiff treble damages under RCW 48.30.015

24            D. For judgment awarding Plaintiff treble damages under RCW 19.86.090

25            E. For pre-judgment and post-judgment interest, to the maximum extent allowed by law; and

26
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          F. That Plaintiffs be granted such other and further relief as the court shall deem just and
1
              equitable.
2

3 DATED this 7 day of June, 2022.

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                IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
1
                           IN AND FOR THE COUNTY OF KING
2

3    RICHARD AND PARTNERS, LLC, A
     WASHINGTON LIMITED LIABILITY             NO.
4
     COMPANY
5                                             DECLARATION OF VIJAY KUMAR
                           PLAINTIFFS,        VERIFYING COMPLAINT ON
6                                             BEHALF OF RICHARD AND
     VS.                                      PARTNERS, LLC
7
     BERKSHIRE HATHAWAY GUARD
8
     INSURANCE COMPANIES,
9
                           DEFENDANT,
10

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